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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS



 ANALOG DEVICES, INC. and HITTITE
 MICROWAVE LLC,
                                                      Civil Action No.: 1:18-cv-11028-GAO
                Plaintiffs,

                        v.
 MACOM TECHNOLOGY SOLUTIONS
 HOLDINGS, INC. and MACOM
 TECHNOLOGY SOLUTIONS INC.,

                Defendants.




                 DECLARATION OF KEITH BENSON IN SUPPORT OF
                 ANALOG'S MEMORANDUM OF LAW IN SUPPORT OF
                   ITS MOTION FOR PRELIMINARY INJUNCTION


I, Keith Benson, declare the following:

       1.      I am the Product Line Director of RF/MW Amplifier & Phased Array IC Products

at Analog Devices, Inc. and its wholly-owned subsidiary Hittite Microwave LLC (collectively,

"Analog").

       2.      I submit this declaration in support of Analog's Memorandum of Law in Supp01i

of its Motion for Preliminary Injunction.

       3.      I have personal knowledge of the facts set forth in this declaration. If called upon

as a witness, I could and would competently testify to the statements made herein.

       4.      I began working at Hittite Microwave in July 2004 as a Design Engineer.



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       5.       In or about 2008/2009, Frank Traut was Hittite's Director oflntegrated Circuit

("IC") Engineering, supervising product development work by many of Hittite's product design

engmeers. During Mr. Traut's time in this role at Hittite, he directed both me and Thomas

Winslow.

       6.       In his role, Mr. Traut met regularly with Hittite's customers to understand their

needs and product requirements. He also helped the company to set strategy for product

development, and sat on Hittite's patent review committee. Among the products developed

under Mr. Traut's supervision were Hittite's monolithic microwave integrated circuit ("MMIC")

wideband distributed amplifiers.

       7.       Around 2008/2009, when Mr. Traut took on his role as Director ofIC

Engineering at Hittite, ce1iain Hittite customers, including                    asked for an

MMIC amplifier product that could produce higher power output. Based on customer demand

for higher power output, Hittite began development ofa series ofnew MMIC amplifier products.

I worked on this development project as an electrical engineer under Mr. Traut's supervision.

       8.       Higher power in such amplifiers requires a higher voltage, but higher voltage

could destroy the transistors used in the distributed power amplifiers that were known at the

time. Therefore, while working on the new MMIC amplifier project at Hittite, I created a new

amplifier design that had a wide band offrequency operation and increased the output power of

the MMIC amplifier products, while avoiding breakdown ofthe amplifier due to the increased

voltage. One ofmy designs used three transistors arranged in a stack and electrically comiected

in series to spread the higher voltage across the transistors and therefore avoid breakdown ofthe

individual transistors. The design also achieved good stability in operation, and operated over a



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wide band of frequencies. The device was implemented in gallium arsenide ("GaAs"), a

substrate material.

       9.       Some of the inventions that I conceived and which were used in Hittite's

HMC998 amplifier were disclosed and claimed in a series of patents and patent applications,

including U.S. Patent No. 9,425,752. I am the sole named inventor on these patents and patent

applications.

        I 0.    In addition to the patented inventions, we made many design decisions that Hittite

chose not to publicly disclose, instead keeping them as confidential trade secrets.

        11.




       12.




        13.     This work led to the commercial introduction, in November 2011, of Hittite's

HMC998 amplifier. The HMC998 amplifier operates over a wide band of frequencies (0 to 22

GHz), has good stabilization, and a 2 Watt power output. Before its introduction, I am aware of

no GaAs amplifier product ofthis nature that could obtain a 2 Watt power output. Indeed,

through today, to my knowledge, these are the highest power output GaAs amplifiers covering
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such decades of bandwidth presently on the market, with the exception of the MACOM

product subject to this lawsuit, which came out approximately five years after our product.

        14.    Mr. Traut did not perform the design work himself, but he was directly involved

in supervising this design process. He was well aware of the confidential trade secret design

choices, including the three I identify above, the various trials and failures that led to these

discoveries, and to the patented inventions.

       15.     The HMC998 amplifier addressed customers' needs for these higher powered

MMIC amplifiers. The HMC998 amplifier has been successful as a commercial product, and it

was purchased by large players in the instrumentation and military industries,



       16.     The HMC998 amplifier development took approximately three years of

engineering work to develop, test, verify and optimize, requiring three iterations of mask sets

(prototypes), and involving many design decisions that Hittite chose not to publicly disclose,

instead keeping them as confidential trade secrets.

       17.     Like many companies that develop semiconductors, Hittite used third party

manufacturers (called "foundries") to manufacture its products. For the HMC998, the foundry

was




       18.




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       19.




       20.



       21.




       22.    Mr. Traut left Analog for MACOM on February 6, 2015,



       23.    My understanding is that Mr. Traut is now MACOM's Senior Director of

Technology and Innovation.

       24.    In about late 2016, MACOM announced publicly that it was introducing an

amplifier product, called the MAAP-011247, that had 2 Watts of power and operated in the 0-22

GHz frequency range. This MAAP-011247 amplifier is pin-to-pin compatible with the HMC998

amplifier. It was apparent to me that the MACOM MAAP-011247 amplifier was introduced to

directly compete with Hittite's successful HMC998 amplifier.

       25.    I am aware of several customers to whom MACOM has attempted to sell its

MAAP-011247 amplifiers in competition with Analog's sales of its HMC998A amplifiers. For
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example, despite Analog's longstanding customer relationship with

         recently chose MACOM's MAAP-001247 amplifier instead ofAnalog's HMC998A

amplifier.




       26.




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       28.




       29.




       30.




       31.    Attached as Exhibits A, B, C, D, and E, are photographs




       I hereby declare under the penalties of perjury under the laws of the United States that the

above statements are to the best of my knowledge true and correct.




 Dated: June Ji_, 2018                        By:     1}{;� &//,/ 4.,fYL,
                                                    Keith Benson




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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing on June 29, 2018.


                                                   /s/ Steven M. Bauer
                                                   Steven M. Bauer
